Gerald Markham
Attorney at Law
198 Journey’s End Way
Friday Harbor WA 98250
PH 360-378-2873
FAX 360-378-2047
gmarkham@nwlink.com
                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA
                                       AT ANCHORAGE

CLYDE REYNOLDS, ANDRIA              )
REYNOLDS and SCOTT REYNOLDS         )
                                    )
Plaintiffs                          )
                                    )
        v.                          )
                                    )                                       Case No. 3:14-CV-00034 SLG
THE M/V POHAH No 2 Official IMO No. )
9227601, et al                      )
                                    )
________ Defendants                 )

             FRCP	  41(a)	  VOLUNTARY	  NOTICE	  OF	  DISMISSAL	  WITH	  PREJUDICE	  
	  
	  	     COMES	  NOW	  Plaintiff	  by	  counsel	  pursuant	  to	  ARCP	  41(a)	  and	  files	  this	  notice	  
of	  dismissal	  with	  prejudice	  prior	  to	  the	  Defendants	  appearance,	  service	  of	  an	  
answer	  or	  motion	  for	  summary	  judgment	  in	  this	  matter.	  	  
Dated this the June 30, 2014 at Anchorage, Alaska.

                                                       s/ Gerald W. Markham
                                                       Gerald W. Markham Alaska Bar No 72-10058
                                                       Attorney for Clyde, Andria And Scott Reynolds

                                       Certificate of Service
I hereby certify that on June 30, 2014 a copy of foregoing FRCP 41(a) Notice of Dismissal with prejudice
was served electronically on Defendants counsel Doug Davis of Kensel, Young and Logan and Alaska
National counsel Richard Nielsen of Nielsen and Shields (although neither have appeared of record).

                                                                 s/ Gerald E. Markham




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